Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 1 of 28




                  EXHIBIT 5
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 2 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 3 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 4 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 5 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 6 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 7 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 8 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 9 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 10 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 11 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 12 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 13 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 14 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 15 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 16 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 17 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 18 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 19 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 20 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 21 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 22 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 23 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 24 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 25 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 26 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 27 of 28
Case 5:12-md-02314-EJD   Document 115-6   Filed 04/06/16   Page 28 of 28
